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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

 EBIN NEW YORK, INC.,

                   Plaintiff,

                   v.                      Civil Action No.

 GUANGZHOU YONGBANG
 BIOTECHNOLOGY CO. LTD.
 d/b/a GOIPLE; SHOPVIDI; INC.;
 GEORGIA ATLANTA BEAUTY
 SUPPLY ASSOCIATION; KAVEE
 TRADING LLC; OASISUSA, INC.;
 RICHARD CHON; and GG10, INC.,

                   Defendants.

                        COMPLAINT WITH JURY DEMAND

         Plaintiff EBIN New York, Inc. (“EBIN” or “Plaintiff”), by and through its

attorneys, asserts this Complaint against Defendants Guangzhou Yongbang

Biotechnology Co. Ltd., d/b/a GOIPLE (“GOIPLE”), ShopVidi, Inc. (“ShopVidi”),

Georgia Atlanta Beauty Supply Association (“GABSA”), Kavee Trading LLC

(“Kavee”), OasisUSA, Inc. (“OasisUSA”), Richard Chon (“Mr. Chon”) and GG10,

Inc. (“GG10”) (ShopVidi, GABSA, Kavee, Oasis, and GG10 are collectively

referred to as “Reseller Defendants,” and with GOIPLE they are collectively referred

to as “Defendants”) as set forth below:



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                              NATURE OF THE ACTION

         1.   EBIN is a provider of hair and wig care products that has quickly

become a leader in its class. Its products dominate the sales charts for many of the

markets that it has entered. EBIN offers its products in a variety of stylized packages

and in connection with various trademarks across its product lines that consumers

now use to associate the products with EBIN.

         2.   GOIPLE is a provider of hair and wig care products that is a direct

competitor of EBIN. GOIPLE operates in the same product space, marketing

channels, and stores as EBIN, and targets the same customers with the same goods.

GOIPLE has realized the overwhelming success of EBIN’s products and has just

released a new product line with new packaging that is confusingly similar to the

packaging offered by EBIN for the corresponding product line. It has also released

advertisements that not only use EBIN’s federally registered trademarks, but are a

copy of advertisements that EBIN has released, featuring the same model and

substantially similar text.

         3.   GOIPLE sells its infringing products direct to customers online, and

through various distribution networks including a variety of direct retailers,

distributors and/or wholesalers.




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         4.    EBIN is experiencing significant harm from GOIPLE’s new product

release, and now brings this action asserting claims for (1) infringement of

registered trademarks under the Lanham Act (15 U.S.C. § 1114); (2) infringement

of unregistered trademarks under the Lanham Act (15 U.S.C. § 1125(a));

(3) infringement of unregistered trade dress under the Lanham Act (15 U.S.C.

§ 1125(a)); (4) federal unfair competition and false designation of origin under the

Lanham Act (15 U.S.C. § 1125(a); (5) New Jersey statutory trademark infringement

N.J.S.A. 56:3-13.16.a for infringement of EBIN’s trademarks; (5) New Jersey

statutory trademark infringement N.J.S.A. 56:3-13.16.a for infringement of EBIN’s

trade dress; (7) New Jersey common law trademark infringement and unfair

competition; and (8) New Jersey common law trade dress infringement and unfair

competition.

                                   THE PARTIES

         5.    Plaintiff EBIN is a corporation existing under the laws of New Jersey,

having a principal place of business at 5 Empire Blvd., South Hackensack,

New Jersey 07606.

         6.    On information and belief, GOIPLE is a corporation existing under the

laws of China, having a principal place of business at Room 203, Building C, No. 4




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Siheng         Road,   Hebian   Hetai   Road,    Helong   Street,     Baiyun   District,

Guangzhou China 510000.

         7.      On information and belief, Defendant ShopVidi, Inc., is a Delaware

corporation with its principal place of business in Doraville, Georgia.

         8.      On information and belief, Defendant Georgia Atlanta Beauty Supply

Association is a Georgia domestic non-profit corporation with its principal place of

business in Doraville, Georgia.

         9.      On information and belief, Defendant Kavee Trading LLC is a domestic

Georgia limited liability company with its principal place of business in

Duluth, Georgia.

         10.     On information and belief, Defendant OasisUSA, Inc. is a Georgia

corporation with its principal place of business in Suwanee, GA.

         11.     On information and belief, Defendant Richard Chon is an individual

and resident of Suwanee, Georgia, who operates under the business name

“GOLDSTAR JS.” GOLDSTAR JS SALES, INC. was formerly a Georgia

corporation but was administratively dissolved on October 28, 2022.

         12.     On information and belief, Defendant GG10, Inc. is a New Jersey

corporation with its principal place of business in Ridgefield, NJ.




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                           JURISDICTION AND VENUE

         13.   Pursuant to 28 U.S.C. §§ 1331 and 1338, this Court has original subject

matter jurisdiction over this action because the action arises under the laws of the

United States, including the Lanham Act, 15 U.S.C. § 1051 et seq.

         14.   Pursuant to 28 U.S.C. § 1367, this Court has supplemental subject

matter jurisdiction over EBIN’s pendent state law claims because these claims are

so related to EBIN’s federal claims that they form part of the same case or

controversy and derive from the same common nucleus of operative facts.

         15.   On information and belief, venue is appropriate in this district as this is

a district where much of the complained of activities occurred, one of the Defendants

is a resident of this district, EBIN is a resident of this district, and as a foreign entity,

GOIPLE may be sued in any state pursuant to 28 U.S.C. § 1391.

         16.   On information and belief, GOIPLE conducts continuous and

systematic business in this forum in such a manner as to invoke the benefits and

protections of its laws, and subject itself to general personal jurisdiction in this

forum.

         17.   This Court has specific personal jurisdiction over GOIPLE because

GOIPLE has purposefully directed its actions into the State of New Jersey.




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         18.     On information and belief, GOIPLE specifically sells goods to retailers

within this state with the intent that its goods be sold to residents in this state.

         19.     On information and belief, this court has specific personal jurisdiction

over the Reseller Defendants because ShopVidi, GABSA, Kavee, Mr. Chon, GG10,

and Oasis all purposefully direct sales and/or promotional activities, including

shipping infringing products, and distributing advertisements, to customers within

this district.

                              FACTUAL BACKGROUND

                              EBIN’s Intellectual Property

         20.     EBIN manufactures a wide variety of hair care and wig care products,

several of which are targeted primarily at the African-American female community.

         21.     EBIN’s products, while generally of a low cost, often under $10 per

unit, are of a superior quality to those of its direct competitors.

         22.     EBIN offers its products in a variety of unique and stylized packaging.

         23.     EBIN also offers its products in connection with a number of federally

registered trademarks.

         24.     One of EBIN’s most successful product lines is its WONDER LACE

BOND line gels, adhesives, and sprays.




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         25.   The WONDER LACE BOND gels, adhesives, and sprays are used to

adhere lace front wigs to the scalp of those who wear the wigs to ensure that the wigs

do not move during ordinary use.

         26.   A highly popular version of the WONDER LACE BOND gel is sold in

stylized packaging consisting of a white bottle with a black label with gold and white

text on the label. The bottle has a black pull-to-open top that is resealable.

         27.   A highly popular version of the WONDER LACE BOND adhesive is

sold in stylized packaging consisting of a white bottle with a black label with gold

and white text on the label. The cap of the bottle is gold and screw-off.

         28.   A highly popular version of the WONDER LACE BOND spray is sold

in stylized packaging consisting of a black label with gold and white text.

         29.   Each of EBIN’s products has its own individual, valid, and unique trade

dress as described above, but for the purpose of this complaint, these products are

collectively referred to as “EBIN’s Trade Dress.” Pictures of samples of products

featuring EBIN’s Trade Dress are reproduced below.




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               EBIN’s gel (left) adhesive (center) spray (right) Collectively, “EBIN’s Trade Dress”


         30.   This unique combination of features that are identified as EBIN’s Trade

Dress are not functional, as they do not impact the cost or quality of EBIN’s

products, and EBIN’s exclusive use of said packaging does not place its competitors

at a significant non-reputational disadvantage.


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         31.   EBIN’s Trade Dress, which EBIN was the exclusive user of,

particularly in the wig bond space, is inherently distinctive, and has come to acquire

significant secondary meaning in the minds of consumers who now use this unique

trade dress to identify products produced by EBIN.

         32.   Products that bear EBIN’s Trade Dress have been a resounding

commercial success, selling a commercially significant number of units compared

to their peers since their launch in March 2021.

         33.   EBIN’s sales of the WONDER LACE BOND gel, adhesive, and spray

in EBIN’s Trade Dress are considered significant and highly successful by any

industry standard.

         34.   This significant commercial success demonstrates the significant

secondary meaning that EBIN has acquired in EBIN’s Trade Dress.

         35.   EBIN’s Trade Dress is arbitrary as it is used in connection with wig

bond gels, adhesives, and sprays, and is therefore conceptually strong.

         36.   Given the significant sales of products that feature EBIN’s Trade Dress,

the trade dress is commercially strong as well.

         37.   EBIN’s Trade Dress is valid and subsisting.




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          38.   EBIN also owns a number of federally registered trademarks for hair

 and wig care products. Among those trademarks are federal registrations for its

 24 HOUR EDGE TAMER trademark.

          39.   The   first registration,   United   States   Trademark   Registration

 No. 4958982 (the “’982 Registration”), is for 24 HOUR EDGE TAMER as a

 standard character mark for “Hair care preparations; Hair pomades; Hair styling

 preparations; Pomades” in International Class 3. The ’982 Registration was filed on

 August 24, 2015, issued as a registration on May 17, 2016, and claims a first use in

 commerce date at least as early as July 1, 2015. The ’982 Registration is now

 incontestable. A copy of the ’982 Registration certificate is attached as Exhibit A.

          40.   The second registration, United States Trademark Registration

 No. 6895302 (the “’302 Registration”), is for 24 HOUR EDGE TAMER and Design

 as a design mark for “Hair care preparations; Hair pomades; Hair styling

 preparations; Pomades” in International Class 3. The ’302 Registration was filed on

 April 12, 2022, issued as a registration on November 8, 2022, and claims a first use

 in commerce date at least as early as July 1, 2015. A copy of the ’302 Registration

 certificate is attached as Exhibit B. The ’982 and ’302 Registrations are collectively

 referred to hereinafter as “EBIN’s Trademark Registrations.”




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                24 HOUR EDGE TAMER AND DESIGN Mark That is the Subject of the ’302 Registration




          41.      EBIN’s Trademark Registrations are valid and subsisting.

          42.      The subject marks of EBIN’s Trademark Registrations are suggestive

 when used in connection with the advertising and sale of goods identified in the

 registrations.

          43.      EBIN offers its products in connection with EBIN’s Trademark

 Registrations to the same customers and through the same marketing channels, and

 at generally the same price points as it offers its products in connection with EBIN’s

 Trade Dress.

          44.      Products that EBIN offers in connection with the subject marks of

 EBIN’s Trademark Registrations have been a resounding commercial success,

 selling a commercially significant number of units compared to its peers since

 products featuring EBIN’s Trademark Registrations first were offered in July 2015.

          45.      EBIN’s sales of products sold in connection with the subject marks of

 EBIN’s Trademark Registrations are considered significant and highly successful by



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 any industry standard. This creates significant secondary meaning in the subject

 marks of EBIN’s Trademark Registrations.

                          GOIPLE’s Acts of Infringement

          46.   GOIPLE is a manufacturer of wig bond products and is one of EBIN’s

 primary competitors in this space.

          47.   GOIPLE recently released a new line of lace gels, adhesives, and

 sprays. These new products are provided in packaging highly similar to that of

 EBIN’s WONDER LACE BOND gels, adhesives, and/or sprays. GOIPLE’s gel is

 sold in stylized packaging consisting of a white bottle with a black label with gold

 and white text on the label. The bottle has a black pull-to-open top that is resealable.

 Similarly, GOIPLE’s adhesive is sold in stylized packaging consisting of a white

 bottle with a black label with gold and white text on the label. The cap of the bottle

 is gold and screw-off. Likewise, GOIPLE’s spray is sold in a white bottle that bears

 a black label with black and gold text. Together, these products are collectively

 referred to as the “Infringing Packaging.”




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    Gel and adhesive with EBIN’s Trade Dress (Left) vs gel and adhesive with GOIPLE’s Infringing Packaging (Right)




               EBIN’s Trade Dress (Left) vs melting spray with GOIPLE’s Infringing Packaging (Right)




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          48.   On information and belief, GOIPLE was aware of EBIN’s Trade Dress,

 and the success of products featuring EBIN’s Trade Dress, before it started designing

 the Infringing Packaging.

          49.   On information and belief, this new packaging was meant to freeride

 on the goodwill associated with EBIN’s Trade Dress, and cause confusion and

 mistake among the relevant consumers who would purchase GOIPLE’s gel,

 adhesive, and spray products, believing them to be the products offered by EBIN.

          50.   On information and belief, the products offered by GOIPLE in the

 Infringing Packaging are very inexpensive and cost under $10 per bottle on average.

          51.   On information and belief, GOIPLE targets the same customers for the

 products that it sells in connection with the Infringing Packaging as the customers

 that EBIN targets for products that it sells in connection with EBIN’s Trade Dress.

          52.   On information and belief, GOIPLE uses the same marketing channels

 for the products that it sells in connection with the Infringing Packaging as the

 marketing channels that EBIN uses for products that it sells in connection with

 EBIN’s Trade Dress.

          53.   On information and belief, the products that GOIPLE sells in

 connection with the Infringing Packaging are sold in the same retail stores as EBIN’s

 products that feature EBIN’s Trade Dress.


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          54.   On information and belief, the products that GOIPLE sells in

 connection with the Infringing Packaging are the exact same type of products,

 namely, lace wig gels, adhesives, and sprays as EBIN’s products that feature EBIN’s

 Trade Dress.

          55.   On information and belief, due to the inexpensive price of the products

 that GOIPLE sells in connection with the Infringing Packaging and EBIN’s products

 that feature EBIN’s Trade Dress, customers exercise little care, and conduct a limited

 investigation, if any, when purchasing the products.

          56.   On information and belief, EBIN is suffering economic harm by a loss

 in sales from customers purchasing the products that GOIPLE sells in the Infringing

 Packaging while believing them to be the product that EBIN offers in connection

 with EBIN’s Trade Dress.

          57.   In addition to the above acts of infringement, GOIPLE has also

 infringed EBIN’s rights in EBIN’s Trademark Registrations.

          58.   On   information    and   belief,   GOIPLE     has   been   promoting

 advertisements featuring the subject marks of EBIN’s Trademark Registrations on

 various storefronts that are targeted to the U.S. market. Below is a screenshot of one

 such advertisement that is offering a multi-pack of products, some of which embody

 the Infringing Packaging (the “Infringing Advertisement”). This advertisement


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 appears on shein.com, a popular online beauty retailer that ships products into

 the US.




           GOIPLE’s Infringing Use of the Subject Marks of the EBIN’s Trademark Registrations on shein.com

          59.      The 24 HOUR EDGE TAMER mark as used by GOIPLE

 (the “24 HOUR EDGE TAMER Mark”) is identical to the subject mark of the

 ’982 Registration, and substantially identical, down to the use of a stylized clock, to

 the subject mark of the ’302 Registration.

          60.      The goods that GOIPLE offers in connection with the 24 HOUR EDGE

 TAMER Mark are related to if not the same goods as those that EBIN offers in

 connection with EBIN’s Trademark Registrations.




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          61.   The customers that GOIPLE targets in connection with the 24 HOUR

 EDGE TAMER Mark are the same that EBIN targets in connection with EBIN’s

 Trademark Registrations.

          62.   The marketing channels that GOIPLE uses in connection with products

 advertised in connection with the 24 HOUR EDGE TAMER Mark are the same that

 EBIN uses in connection with EBIN’s Trademark Registrations.

          63.   These acts of trademark infringement were clearly and unquestionably

 willful, especially given the fact that the Infringing Advertisement depicted above is

 actually a copy of an advertisement that EBIN previously made using the same photo

 of the same model (EBIN’s Advertisement”). Even the feature list on the bottom of

 GOIPLE’s Infringing Advertisement is the same, as is the use of the trademark

 registration symbol ® in connection with the 24 HOUR EDGE TAMER Mark.




                     EBIN’s Advertisement Next to GOIPLE’s Infringing Advertisement




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          64.   Copying EBIN’s advertising, down to the model that was used, and the

 ® symbol, constitutes unfair competition and false destination of origin.

          65.   The above, together with a cease and desist letter that EBIN sent to

 GOIPLE warning that it was infringing EBIN’s rights in EBIN’s Trade Dress by its

 continued sales and distribution of products that feature the Infringing Packaging,

 demonstrates that GOIPLE’s various acts of trademark infringement, trade dress

 infringement, false designation of origin, and unfair competition are unquestionably

 willful, and clearly designed to freeride on the goodwill associated with EBIN’s

 Trade Dress and Trademark Registrations.

          66.   On information and belief, the Reseller Defendants each sell and/or

 distribute at least one of the above-identified products that feature the Infringing

 Packaging, targeting the same customers as EBIN targets with sales of its products

 that feature EBIN’s Trade Dress. This constitutes trade dress infringement.

          67.   On information and belief, the Reseller Defendants all were aware of

 EBIN’s rights in EBIN’s Trade Dress before they began selling and/or distributing

 products that feature the Infringing Packaging.

          68.   As to ShopVidi and GABSA, EBIN sent cease and desist letters to the

 entities warning them that they were infringing EBIN’s rights in EBIN’s Trade Dress

 by their continued sales and/or distribution of products that feature the


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 Infringing Packaging. Despite these warnings, these Reseller Defendants continued

 to sell and/or distribute the products that feature the Infringing Packaging.

          69.   On information and belief, ShopVidi and GABSA’s acts of trade dress

 infringement were willful.

                           FIRST CAUSE OF ACTION
        (Infringement of Federally Registered Trademarks Against GOIPLE
                                [15 U.S.C. § 1114])
          70.   EBIN hereby incorporates by reference each of the allegations in

 paragraphs 1-69 of this Complaint as if fully set forth herein.

          71.   EBIN owns rights in EBIN’s Trademark Registrations.

          72.   The subject marks of EBIN’s Trademark Registrations are at least

 suggestive when used in connection with the goods identified in EBIN’s Trademark

 Registrations.

          73.   The subject marks of EBIN’s Trademark Registrations are

 commercially strong.

          74.   The subject marks of EBIN’s Trademark Registrations are conceptually

 strong.

          75.   EBIN has acquired significant secondary meaning in the subject marks

 of EBIN’s Trademark Registrations.




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          76.   On information and belief, GOIPLE was aware of the subject marks of

 EBIN’s Trademark Registrations before advertising products in connection with the

 24 HOUR EDGE TAMER Mark.

          77.   The products that GOIPLE offers in connection with the 24 HOUR

 EDGE TAMER Mark are the same products or related to the products that EBIN

 offers in connection with the subject marks of EBIN’s Trademark Registrations.

          78.   On information and belief, the products that GOIPLE offers in

 connection with the 24 HOUR EDGE TAMER Mark are targeted to the same

 customers as the products that EBIN offers in connection with the subject marks of

 EBIN’s Trademark Registrations.

          79.   On information and belief, the products that GOIPLE offers in

 connection with the 24 HOUR EDGE TAMER Mark are offered in the same

 marketing channels and retail locations as the products that EBIN offers in

 connection with the subject marks of EBIN’s Trademark Registrations.

          80.   On information and belief, the products that GOIPLE offers in

 connection with the 24 HOUR EDGE TAMER Mark and the products that EBIN

 offers in connection with the subject marks of EBIN’s Trademark Registrations are

 inexpensive, costing less than $10 on average, and customers do not exercise a great

 deal of care when purchasing the products.


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          81.     On information and belief, GOIPLE’s sale of products in connection

 with the 24 HOUR EDGE TAMER Mark is likely to cause confusion as to the

 source, origin, and sponsorship of GOIPLE and the products that it sells on the one

 hand and EBIN and the products that it sells in connection with the subject marks of

 EBIN’s Trademark Registrations on the other.

          82.     The above identified actions constitute infringement of a registered

 trademark violation of the Lanham Act.

          83.     On information and belief, GOIPLE’s acts of trademark infringement

 are willful.

          84.     As a direct and proximate result of GOIPLE’s trademark infringement,

 EBIN has suffered and will continue to suffer irreparable harm and damages.

          85.     EBIN is entitled to injunctive relief and other remedies available under

 the Lanham Act, including but not limited to GOIPLE’s profits, any damages

 sustained by EBIN, the trebling of any damages according to the circumstances of

 this case, attorneys’ fees, costs, and prejudgment interest.

                             SECOND CAUSE OF ACTION
               (Infringement of Unregistered Trademarks Against GOIPLE
                                  [15 U.S.C. § 1125(a)])
          86.     EBIN hereby incorporates by reference each of the allegations in

 paragraphs 1-85 of this Complaint as if fully set forth herein.



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          87.   The acts described in the first cause of action above also constitute

 unfair competition/infringement of an unregistered trademark in violation of 15

 U.S.C. § 1125(a) as EBIN has significant common-law rights and secondary

 meaning in association with the subject marks of EBIN’s Trademark Registrations

 for the goods identified therein.

          88.   On information and belief, GOIPLE’s acts of trademark infringement

 are willful.

          89.   As a direct and proximate result of GOIPLE’s trademark infringement,

 EBIN has suffered and will continue to suffer irreparable harm and damages.

          90.   EBIN is entitled to injunctive relief and other remedies available under

 the Lanham Act, including but not limited to GOIPLE’s profits, any damages

 sustained by EBIN, the trebling of any damages according to the circumstances of

 this case, attorneys’ fees, costs, and prejudgment interest.

                           THIRD CAUSE OF ACTION
         (Infringement of Unregistered Trade Dress Against All Defendants
                              [15 U.S.C. § 1125(a)])
          91.   EBIN hereby incorporates by reference each of the allegations in

 paragraphs 1-90 of this Complaint as if fully set forth herein.

          92.   EBIN owns common law trade dress rights to EBIN’s Trade Dress

 based on EBIN’s prior continuous and exclusive use of EBIN’s Trade Dress in

 commerce.

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          93.   EBIN’s Trade Dress is arbitrary and is inherently distinctive when used

 in connection with lace bond gels, adhesives, and sprays.

          94.   EBIN’s Trade Dress is commercially strong.

          95.   EBIN’s Trade Dress is conceptually strong.

          96.   EBIN’s Trade Dress is not functional.

          97.   EBIN has acquired significant secondary meaning in EBIN’s

 Trade Dress.

          98.   On information and belief, GOIPLE was aware of EBIN’s Trade Dress

 before adopting the Infringing Packaging.

          99.   On information and belief, the products that GOIPLE offers through the

 Reseller Defendants and other distribution channels in connection with the

 Infringing Packaging are the same products or are related to the products that EBIN

 offers in connection with EBIN’s Trade Dress.

          100. On information and belief, the products that GOIPLE offers through the

 Reseller Defendants and other distribution channels in connection with the

 Infringing Packaging are targeted to the same customers as the products that EBIN

 offers in connection with EBIN’s Trade Dress.

          101. On information and belief, the products that GOIPLE offers through the

 Reseller Defendants and other distribution channels in connection with the


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 Infringing Packaging are offered in the same marketing channels and retail locations

 as the products that EBIN offers in connection with EBIN’s Trade Dress.

          102. On information and belief, the products that GOIPLE offers through the

 Reseller Defendants and other distribution channels in connection with the

 Infringing Packaging and the products that EBIN offers in connection with EBIN’s

 Trade Dress are inexpensive, costing less than $10 on average, and customers do not

 exercise a great deal of care when purchasing the products.

          103. On information and belief, GOIPLE’s and the Reseller Defendants’ sale

 and/or distribution of products in connection with the Infringing Packaging is likely

 to cause confusion as to the source, origin, sponsorship of GOIPLE and the products

 that it sells on the one hand and EBIN and the products that it sells in connection

 with EBIN’s Trade Dress on the other.

          104. The above identified actions constitute infringement of unregistered

 trade dress in violation of the Lanham Act.

          105. On information and belief, GOIPLE’s, ShopVidi’s and GABSA’s acts

 of trade dress infringement are willful.

          106. As a direct and proximate result of Defendants’ trade dress

 infringement, EBIN has suffered and will continue to suffer irreparable harm and

 damages.


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          107. EBIN is entitled to injunctive relief and other remedies available under

 the Lanham Act, including but not limited to Defendants’ profits, any damages

 sustained by EBIN, the trebling of any damages according to the circumstances of

 this case, attorneys’ fees, costs, and prejudgment interest.

                         FOURTH CAUSE OF ACTION
      (False Designation of Origin and Unfair Competition Against GOIPLE
                              [15 U.S.C. § 1125(a)])
          108. EBIN hereby incorporates by reference each of the allegations in

 paragraphs 1-107 of this Complaint as if fully set forth herein.

          109. On information and belief, GOIPLE was aware of EBIN’s

 Advertisement before adopting its Infringing Advertisement.

          110. The products that GOIPLE offers in connection with its Infringing

 Advertisement are the same products or related to the products that EBIN offers in

 connection with EBIN’s Advertisement.

          111. On information and belief, the products that GOIPLE offers in

 connection with its Infringing Advertisement are targeted to the same customers as

 the products that EBIN offers in connection with EBIN’s Advertisement.

          112. On information and belief, the products that GOIPLE offers in

 connection with its Infringing Advertisement are offered in the same marketing

 channels and/or retail locations as the products that EBIN offers in connection with

 EBIN’s Advertisement.

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          113. On information and belief, the products that GOIPLE offers in

 connection with its Infringing Advertisement and the products that EBIN offers in

 connection with EBIN’s Advertisement are inexpensive, costing less than $10 on

 average, and customers do not exercise a great deal of care when purchasing the

 products.

          114. On information and belief, GOIPLE’s sale of products in connection

 with its Infringing Advertisement is likely to cause confusion as to the source, origin,

 and sponsorship of GOIPLE and the products that it sells on the one hand and EBIN

 and the products that it sells in connection with EBIN’s Advertisement on the other.

          115. By copying EBIN’s Advertisement down to the photo of the model and

 text of the advertisement, GOIPLE was intending to freeride on the goodwill

 associated with EBIN, and to deceive customers into believing that the products

 advertised by GOIPLE were the same or related to the products advertised by EBIN,

 or that GOIPLE itself, or its products were related to or affiliated with EBIN.

          116. The above identified actions constitute a false designation of origin and

 unfair competition under the Lanham Act.

          117. On information and belief, GOIPLE’s acts of false designation of origin

 and unfair competition are willful.




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          118. As a direct and proximate result of GOIPLE’s false designation of

 origin and unfair competition, EBIN has suffered and will continue to suffer

 irreparable harm and damages.

          119. EBIN is entitled to injunctive relief and other remedies available under

 the Lanham Act, including but not limited to GOIPLE’s profits, any damages

 sustained by EBIN, the trebling of any damages according to the circumstances of

 this case, attorneys’ fees, costs, and prejudgment interest.

                           FIFTH CAUSE OF ACTION
     (Violation of the New Jersey Statutory Trademark Infringement Against
                  GOIPLE [N.J.S.A. 56:3-13.16.a] (Word Mark))
          120. EBIN hereby incorporates by reference each of the allegations in

 paragraphs 1-119 of this Complaint as if fully set forth herein.

          121. The activities identified in the first and second causes of action also

 constitute trademark infringement in violation of N.J.S.A. 56:3-13.16.a.

          122. On information and belief, GOIPLE’s acts of trademark infringement

 are willful.

          123. As a direct and proximate result of Defendant’s trademark

 infringement, EBIN has suffered and will continue to suffer irreparable harm and

 damages.

          124. EBIN is entitled to injunctive relief and other remedies available under

 N.J.S.A. 56:3-13.16.a et. seq, including but not limited to Defendant’s profits, any

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 damages sustained by EBIN, the trebling of any damages according to the

 circumstances of this case, attorneys’ fees, costs, and prejudgment interest.

                         SIXTH CAUSE OF ACTION
  (Violation of the New Jersey Statutory Trademark Infringement Against All
                Defendants [N.J.S.A. 56:3-13.16.a] (Trade Dress))
          125. EBIN hereby incorporates by reference each of the allegations in

 paragraphs 1-124 of this Complaint as if fully set forth herein.

          126. The activities identified in the third cause of action also constitute trade

 dress infringement in violation of N.J.S.A. 56:3-13.16.a.

          127. On information and belief, GOIPLE’s, ShopVidi’s and GABSA’s acts

 of trademark infringement are willful.

          128. As a direct and proximate result of Defendants’ trade dress

 infringement, EBIN has suffered and will continue to suffer irreparable harm and

 damages.

          129. EBIN is entitled to injunctive relief and other remedies available under

 N.J.S.A. 56:3-13.16.a et. seq, including but not limited to Defendants’ profits, any

 damages sustained by EBIN, the trebling of any damages according to the

 circumstances of this case, attorneys’ fees, costs, and prejudgment interest.




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                   SEVENTH CAUSE OF ACTION
 (New Jersey Common Law Trademark Infringement and Unfair Competition
                          Against GOIPLE)
          130. EBIN hereby incorporates by reference each of the allegations in

 paragraphs 1-129 of this Complaint as if fully set forth herein.

          131. The activities identified in the first, second, fourth and fifth causes of

 action also constitute trademark infringement and unfair competition in violation of

 the New Jersey common law.

          132. On information and belief, GOIPLE’s acts of trademark infringement

 and unfair competition are willful.

          133. As a direct and proximate result of Defendant’s trademark infringement

 and unfair competition, EBIN has suffered and will continue to suffer irreparable

 harm and damages.

          134. EBIN is entitled to injunctive relief and other remedies available at

 common law, including but not limited to Defendant’s profits, any damages

 sustained by EBIN, the trebling of any damages according to the circumstances of

 this case, attorneys’ fees, costs, and prejudgment interest.

                          EIGHTH CAUSE OF ACTION
           (New Jersey Common Law Trade Dress Infringement and Unfair
                        Competition Against All Defendants)
          135. EBIN hereby incorporates by reference each of the allegations in

 paragraphs 1-134 of this Complaint as if fully set forth herein.


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          136. The activities identified in the third and sixth causes of action also

 constitute infringement of unregistered trade dress and unfair competition in

 violation of the New Jersey common law.

          137. On information and belief, GOIPLE’s, ShopVidi’s and GABSA’s acts

 of trade dress infringement and unfair competition are willful.

          138. As a direct and proximate result of Defendants’ trade dress

 infringement and unfair competition, EBIN has suffered and will continue to suffer

 irreparable harm and damages.

          139. EBIN is entitled to injunctive relief and other remedies available at

 common law, including but not limited to Defendants’ profits, any damages

 sustained by EBIN, the trebling of any damages according to the circumstances of

 this case, attorneys’ fees, costs, and prejudgment interest.

                                PRAYER FOR RELIEF

          WHEREFORE, EBIN prays for:

          A.    A preliminary and permanent injunction restraining Defendants, their

 officers, directors, agents, employees, representatives and all persons acting in

 concert with Defendants, from engaging in any further trademark infringement, trade

 dress infringement, false designation of origin, deceptive trade practices, and unfair

 competition.


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          B.    Judgment in favor of EBIN for all of EBIN’s enumerated causes

 of action.

          C.    An award of Defendants’ profits, or EBIN’s actual damages, whichever

 are greater.

          D.    A finding that Defendants’ actions were willful.

          E.    A finding that this is an extraordinary case.

          F.    Trebling of damages.

          G.    An award of EBIN’s attorney’s fees and costs in this matter.

          H.    Such other and further relief as the Court deems proper.

                                     JURY DEMAND

          Plaintiff EBIN New York, Inc. requests a trial by jury on all issues so triable.

 Dated: June 23, 2023                 Respectfully submitted,
                                   By      s/John K. Kim
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